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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:09CR226
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
LUIS FERNANDO RUIZ-JIMENEZ,                       )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of Assistant Federal Public Defender
Jeffrey L. Thomas and the Office of the Federal Public Defender to withdraw as counsel
for the defendant, Luis Fernando Ruiz-Jimenez (Ruiz-Jimenez) (Filing No. 13). Mr.
Thomas represents he has a conflict of interest in this matter. Mr. Thomas’s and the Office
of the Federal Public Defender’s motion to withdraw (Filing No. 13) is granted. Michael J.
Tasset, P.O. Box 62, Oakland, NE 68045-0062, (402) 685-5647, is appointed to represent
Ruiz-Jimenez for the balance of these proceedings pursuant to the Criminal Justice Act.
Mr. Thomas shall forthwith provide Mr. Tasset with the discovery materials provided the
defendant by the government and such other materials obtained by Mr. Thomas which are
material to Ruiz-Jimenez’s defense.
       The clerk shall provide a copy of this order to Mr. Tasset, and he shall file his
appearance forthwith.
       IT IS SO ORDERED.
       DATED this 8th day of July, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
